Case 1:14-md-02542-VSB-SLC Document 1222-11 Filed 01/15/21 Page 1 of 5




            EXHIBIT K
   Case 1:14-md-02542-VSB-SLC Document 1222-11 Filed 01/15/21 Page 2 of 5




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 IN RE: KEURIG GREEN MOUNTAIN                          No. 1:14-md-02542 (VSB) (SLC)
 SINGLE-SERVE COFFEE ANTITRUST                         MDL No. 2542
 LITIGATION




 JBR, Inc. (D/B/A/ ROGERS FAMILY
 COMPANY),

         Plaintiff,
                                                       14 Civ. 4242 (VSB) (SLC)
        v.

 KEURIG GREEN MOUNTAIN, INC. (F/K/A/
 GREEN MOUNTAIN COFFEE ROASTERS,
 INC. AND AS SUCCESSOR TO KEURIG,
 INCORPORATED),

         Defendant.

      KEURIG GREEN MOUNTAIN, INC.’S RESPONSES AND OBJECTIONS TO
          JBR, INC.’S AMENDED REQUESTS FOR ADMISSION NOS. 7-9

       Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure (the “Federal

Rules”), Defendant Keurig Green Mountain, Inc. (“Keurig”) hereby responds and objects to

Amended Requests For Admission Nos. 7-9 (“Requests”) served by Plaintiff JBR, Inc. (“JBR” or

“Plaintiff”) as follows:

                                  GENERAL OBJECTIONS

       Keurig incorporates by reference its General Objections from its initial Responses and

Objections to JBR’s Second Set of Requests for Admission, served on September 11, 2020.

Keurig also objects to the admissibility of these responses in any other proceeding under Federal

Rule of Civil Procedure 36(b) and any other applicable law.
   Case 1:14-md-02542-VSB-SLC Document 1222-11 Filed 01/15/21 Page 3 of 5




                             OBJECTIONS TO DEFINITIONS

       Keurig incorporates by reference its Objections to Definitions from its initial Responses

and Objections to JBR’s Second Set of Requests for Admission, served on September 11, 2020.

                            OBJECTIONS TO INSTRUCTIONS

       Keurig incorporates by reference its Objections to Instructions from its initial Responses

and Objections to JBR’s Second Set of Requests for Admission, served on September 11, 2020.

                       RESPONSES AND SPECIFIC OBJECTIONS

AMENDED REQUEST FOR ADMISSION NO. 7: Admit that as of November 2, 2011, You
were made aware by Your employees of the decision in Quanta Computer, Inc. v. LG Elecs.,
Inc., 553 U.S. 617, 625 (2008).

       RESPONSE: Keurig specifically objects to this Request on the basis that the terms

“aware” and “employees” are vague and ambiguous. Subject to and without waiver of the

foregoing General and Specific Objections, and without waiver of the attorney-client privilege or

work product protection (ECF 1157 at 3), Keurig admits only that as of November 2, 2011 it was

aware of the decision in Quanta Computer, Inc. v. LG Elecs., Inc., 553 U.S. 617 (2008).


AMENDED REQUEST FOR ADMISSION NO. 8: Admit that as of November 2, 2011, You
were made aware by Your employees of the decision in United States v. Univis Lens Co., 316
U.S. 241, 252 (1942).

       RESPONSE: Keurig specifically objects to this Request on the basis that the terms

“aware” and “employees” are vague and ambiguous. Subject to and without waiver of the

foregoing General and Specific Objections, and without waiver of the attorney-client privilege or

work product protection (ECF 1157 at 3), Keurig admits only that as of November 2, 2011 it was

aware of the decision in United States v. Univis Lens Co., 316 U.S. 241 (1942).




                                                2
   Case 1:14-md-02542-VSB-SLC Document 1222-11 Filed 01/15/21 Page 4 of 5




AMENDED REQUEST FOR ADMISSION NO. 9: Admit that as of November 2, 2011, You
were made aware by Your employees of the decision in Sage Prods, v. Devon Indus., 45 F.3d
1575, 1579 (Fed. Cir. 1995).

       RESPONSE: Keurig specifically objects to this Request on the basis that the terms

“aware” and “employees” are vague and ambiguous. Subject to and without waiver of the

foregoing General and Specific Objections, and without waiver of the attorney-client privilege or

work product protection (ECF 1157 at 3), Keurig admits only that as of November 2, 2011 it was

aware of the decision in Sage Prods, v. Devon Indus., 45 F.3d 1575 (Fed. Cir. 1995).



Dated: Pittsburgh, PA
November 23, 2020

                                            /s/ Wendelynne J. Newton
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                                                3
   Case 1:14-md-02542-VSB-SLC Document 1222-11 Filed 01/15/21 Page 5 of 5



                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


IN RE: KEURIG GREEN MOUNTAIN SINGLE-                  No. 1:14-md-02542 (VSB) (SLC)
SERVE COFFEE ANTITRUST LITIGATION                     MDL No. 2542




JBR, Inc. (D/B/A/ ROGERS FAMILY
COMPANY),

       Plaintiff,
                                                      14 Civ. 4242 (VSB) (SLC)
       v.

KEURIG GREEN MOUNTAIN, INC. (F/K/A/
GREEN MOUNTAIN COFFEE ROASTERS,
INC. AND AS SUCCESSOR TO KEURIG,
INCORPORATED),

       Defendant.


                          CERTIFICATE OF SERVICE

       I hereby certify that on November 23, 2020, a true and correct copy of the foregoing

document was served by electronic mail to the designated counsel of record for the parties in

the above-captioned matter.




                                           /s/ Matthew C. Pilsner
